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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DIVISION OF MICHIGAN
                                       SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                               CRIMINAL NO. 2:05-cr-80955
                 Plaintiff,
                                                               HON. Avern Cohn
        v

DAVID WALKER (40),

                 Defendant.
                                        /

DAWN N. ISON (P 43111)
Assistant US Attorney
US Department of Justice
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Detroit, Michigan 48226
313/226.9567

SEYMOUR BERGER (P 10720)
Attorney for Defendant, David Walker
24901 Northwestern Hwy, #513
Southfield, Michigan 48075
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                                    /

                        ORDER FOR SUBSTITUTION OF
                  ATTORNEYS FOR DEFENDANT, DAVID WALKER
        Attorneys, Hal R. Arenstein and Seymour Berger having stipulated that Hal R. Arenstein shall

substitute in place of Seymour Berger as Attorney for Defendant, David Walker; and this Court deeming

itself fully advised in the premises:

        IT IS HEREBY ORDERED that Hal R. Arenstein is substituted for Seymour Berger as the

Attorney for Defendant, David Walker.



Dated: May 25, 2007                            s/Avern Cohn
                                               AVERN COHN, Federal Court Judge



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